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                          United States District Court
                         Southern District of New York

 United States of America,

                      Plaintiff,

 v.                                            Case No. 1:14-cr-00068-LGS

 Ross William Ulbricht

                     Defendant.

          ORDER GRANTING ADMISSION PRO HAC VICE

       The motion of applicant Zachary Lee Newland, for admission to practice and

appear pro hac vice in the above-captioned action on behalf of Mr. Ross William

Ulbricht is GRANTED.

       Applicant Zachary Lee Newland has declared that he is a member in good

standing of the Bar of the state of Texas and of Colorado; and that his contact

information is as follows:

       Name:        Zachary Lee Newland
       Firm:        Brandon Sample PLC
       Address:     P.O. Box 250, Rutland, Vermont 05702
       Telephone:   (802) 444-4357
       Fax:         (802) 779-9590
       E-mail:      zach@brandonsample.com and ecf@brandonsample.com

       Applicant Zachary Lee Newland having requested admission pro hac vice to

appear for all purposes as counsel for Mr. Ulbricht, Defendant, in the above-entitled

action.




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      It is hereby ORDERED that Applicant Zachary Lee Newland is admitted to

practice pro hac vice in the above-captioned case in the United States District Court

for the Southern District of New York. All attorneys practicing before this Court are

subject to the Local Rules of this Court, including the Rules governing discipline of

attorneys.


Dated:


                                        United States District/Magistrate Judge




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